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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                        Plaintiff,                  )
                                                    )                    8:11CR43
        vs.                                         )
                                                    )                     ORDER
JOHN CORSON,                                        )
MIRANDA RUIZ,                                       )
EVELINDA HINOJOSA,                                  )
JUANITA HERRERA,,                                   )
                                                    )
                        Defendants.                 )
                                                    )


       This matter is before the court on the defendant Evelinda Hinojosa's unopposed amended
motion to continue trial [79] due to defense counsel's trial schedule and defendant Miranda Ruiz’s
motion to continue trial [81] due to ongoing plea negotiations. The defendant Miranda Ruiz has
complied with NECrimR 12.1(a).

        IT IS ORDERED:

       1.     That defendant Evelinda Hinojosa’s Amended Motion to Continue [79] and defendant
Miranda Ruiz’s Motion for Continuance of Trial [81] are granted, as follows:

        1. The jury trial now set for June 7, 2011 is continued to June 28, 2011.

       2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of justice will
be served by granting this continuance and outweigh the interests of the public and the defendant in
a speedy trial. Any additional time arising as a result of the granting of this motion, that is, the time
between June 7, 2011 and June 28, 2011, shall be deemed excludable time in any computation of
time under the requirement of the Speedy Trial Act. Failure to grant a continuance would deny
counsel for the defendant the reasonable time necessary for effective preparation, taking into
account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

        3. Defendant Evelinda Hinojosa’s Motion to Continue [78] is denied as moot.

      4. Defendant Evelinda Hinojosa shall file an updated affidavit or declaration regarding
speedy trial, in compliance with NECrimR 12.1(a), no later than June 3, 2011.

        DATED May 31, 2011.

                                                BY THE COURT:

                                                s/ F.A. Gossett
                                                United States Magistrate Judge
